Case 5:25-cv-00244-RGK-BFM   Document 1-4   Filed 01/29/25   Page 1 of 2 Page ID
                                   #:29




                        Exhibit “D”
Case 5:25-cv-00244-RGK-BFM                     Document 1-4 Filed 01/29/25                         Page 2 of 2 Page ID
                                                      #:30
                                           SUPERIOR COURT OF CALIFORNIA,
                                            COUNTY 0F SAN BERNARDINO
                                                   San Bernardino District
                                                      247 West 3rd St
                                                 San Bernardino CA 92415
                                                      www.sb-court.org
                                                         909—708-8678


                           Macy -v— County of San Bernardino Public Works Solid Waste Management
                                                                                                     Case Number
 NOTICE OF TRIAL SETTING CONFERENCE and NOTICE OF CASE ASSIGNMENT
                                                                                                     CIVSBZ422776

 Jeff Macy
 No Known Address

 This case has been assigned to: Wilfred J Schneider, Jr. in Department $32 SBJC for all
                                                                           -             purposes.


 Notice is hereby given that the above—entitled case has been set for Trial Setting
                                                                                               Conference on:

                              Hearing Date: 01/27/2025 at 8:30 AM in Department $32 SBJC
                                                                                   -




 Date: 7/26/2024                                                     By:
                                                                            J   elin Acosta.   Deputy Clerk




                                                  CERTIFICATE OF SERVICE
                                                                                                              address.       am
         am a Deputy Clerk of the Superior Court for the County of San Bernardino at the above-Iisted
                                                                                                                         I


 I


                                                                     served a copy of the above-listed notice by:
 not a party to this action and on the date and place shown below,
                                                                            l




       Enclosed in a sealed envelope mailed to the interested party addressed
                                                                               above for coIIection and mailing
 E
            this date. following standard Court practices‘
                                                                                       mail at the location shown above,
 D           Enclosed in a sealed envelope, first class postage prepaid in the U.S.
             mailed to the interested party and addressed as shown above or as
                                                                                  shown on the attached listing.
 D           A copy of this notice was given to the filing party at the counter.
                                                                                                     location for the above
 D           A copy of this notice was placed in the bin located at this office and identiﬁed as the
             law ﬁrm’s collection of fiIe-stamped documents.
     Date of Mailing: 7/26/2024

                                                                                   Executed on 7/26/2024 at San
      declare under penalty of perjury that the forgoing is true and
                                                                        correct.
     |




     Bernardino, CA.


                                                                      By:                                     A
                                                                            Venn     Acosta, Deputy Clerk
